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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,
Vv. Cr. No. 10-10288-MLW

TIMOTHY MOYNIHAN
Defendant.

VERDICT

We the jury find the defendant Timothy Moynihan:
1. (a) Gru ey on Count 1.

IF YOU HAVE FOUND DEFENDANT MOYNIHAN "GUILTY" ON COUNT 1,
ANSWER QUESTION 1(b). IF NOT, GO TO COUNT 2.

(bo) Has the government proven beyond a reasonable doubt
that the conspiracy as a whole involved at least 28 grams of
cocaine base?

Yes > C No

|
OMA! ie on Count 2.
3. Caml ty on Count 3.
J oN
4. Gum ry on Count 4.
\N -

5. Quilty on Count 5.
YY

NO

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DATE || FOREPERSON /]

 

 
